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IN THE UNITED sTATEs DISTRICT coURT '
FoR THE wEsTERN DISTRICT oF TENNESSEE U5JUH{L AM,D,{

 

wEsTERN DIvIsION 5
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UNITED sTATEs, for the use and “MFIN.MEMHMS

benefit of, ASSET RECOVERY
CONTRACTING, LLC,

Plaintiff,
NO. 03-2860 Ml/An

V.

SAFECO INSURANCE COMPANY OF
AMERICA,

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Defendant.

 

ORDER DENYING DEFENDANT'S MOTION FOR SUMMARY JUDGMENT
AND
ORDER DENYING DEFENDANT’S MOTION FOR LEAVE TO FILE REPLY
MEMORANDUM IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT AS MOOT

 

Before the Court is Defendant’s Motion for Summary Judgment,
filed December 30, 2004. Plaintiff responded in opposition on
February l, 2005.l For the following reasons, the Court DENIES
the motion.

This case arose out of two subcontract agreements to perform

demolition work on a federally funded construction project

 

1 In its opposition to Defendant's summary judgment motionr
Plaintiff raised the issue of spoliation of evidence as an
additional basis to deny the Defendant's motion. Defendant
subsequently filed a Motion for Leave to File Reply Memorandum in
Support of its Motion for Summary Judgment. In the motion,
Defendant sought to specifically address the spoliation issues
raised in Plaintiff's opposition. Because the Court is denying
Defendant’s summary judgment motion on other grounds, the Court
DENIES as moot, Defendant's Motion for Leave to File Reply
Memorandum in Support of its Motion for Summary Judgment.

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involving the Veterans Administration Medical Center in Memphis,
Tennessee. Asset Recovery Contracting, LLC, brings this action
against Safeco Insurance Company of America (“Safeco”) pursuant
to the Miller Act, 40 U.S.C. § 3l3l et seg'.2 ln particular,
Plaintiff brings this action on a payment bond issued by Safecor
as surety for Price-Davis Construction Co. (“PD”), the prime
contractor on the project, for payment of amounts purportedly due
under the subcontracts.

Plaintiff and PD entered into two subcontract agreements
(the Soft Demolition Contract and the Hard Demolition Contract)
to perform demolition work at the Veterans Administration Medical
Center in Memphis, Tennessee. (Def.'s Mem. of Facts and Law in
Supp. of Def.'s Mot. for Summ. J., J 3.) The subcontracts

required that Plaintiff substantially complete its work by August

 

2 The Miller Act provides that an individual must furnish to
the Government both a performance bond and a payment bond before
the Government awards any contract of more than $100,000 to
construct, alter, or repair any public building or public work of
the Federal Government. 40 U.S.C. § 3l3l.

In addition, § 3133(b)(l) of the Miller Act provides that:

Every person that has furnished labor or material in
carrying out work provided for in a contract for which
a payment bond is furnished under section 3131 of this
title and that has not been paid in full within 90 days
after the day on which the person did or performed the
last of the labor or furnished or supplied the material
for which the claim is made may bring a civil action on
the payment bond for the amount unpaid at the time the
civil action is brought and may prosecute the action to
final execution and judgment for the amount due.

40 U.S.C. § 3133(b)(l).

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28, 2003. (Id., L 4.) Plaintiff substantially completed all of
its work and demobilized from the project by June 19, 2003.
(Id., l 5.)

While performing the subcontracts, Plaintiff would
periodically send pay applications forms to PD in order to
receive payment for work performed under the subcontracts. (Id.,
I 6.} With the exception of three applications, each of the pay
applications had a form attached entitled “Partial Waiver and
Lien Release By Subcontractor/Supplier” (“Partial Waiver”).
(Def.'s Mem. of Facts and Law in Supp. of Def.'s Mot. for Summ.
J., Ex. H.) The three remaining Pay Applications had an attached
form entitled “Waiver of Lien to Date.”3 (Id.) Each of the
waivers contained a notarized signature of a representative from
Plaintiff, and the Partial Waiver contained a space where
Plaintiff could list unresolved claims outside the scope of the
waiver. (Id., I 8, Ex. H.) Plaintiff, however, did not list any
such claims. (Id.)

Plaintiff submitted its last Partial Waivers on May 2, 2003,
with Pay Application No. 12 and on July 24, 2003, with Pay

Application No. 14 relating to the Soft Demolition Contract and

 

3 The “Waiver of Lien to Date” was attached to: Pay
Application No. l for the Hard Demolition Contract, submitted on
July 26, 2002; Pay Application No. 2 for the Soft Demolition
Contract, submitted on May 30, 2002; and Pay Application No. 3
for the Soft Demolition Contract, submitted on July 10, 2002.
(Def.'s Mem. of Facts and Law in Supp. of Def.'s Mot. for Summ.
J., EX. H.)

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Hard Demolition Contract respectively. (Def.'s Mem. of Facts and
Law in Supp. of Def.’s Mot. for Summ. J., l 12.) After
submitting the above Pay Applications, Plaintiff received its
final progress payments under the respective subcontracts. (Id.)
On November, 6, 2003, Plaintiff submitted Pay Application No. 15
under both subcontracts, requesting change orders due to delay,
plus retainage, in the amount of $304,779 under the Soft
Demolition Contract and $420,721 under the Hard Demolition
Contract.

Defendant moves for summary judgment on the ground that the
Partial Waivers signed by Plaintiff's representatives bar
Plaintiff from asserting its claim on the payment bond pursuant
to the Miller Act. Upon reviewing the Plaintiff's submissions
along with the entire record in this case, the Court finds that
there remain genuine issues of material fact regarding whether
Plaintiff waived any claims pursuant to the Miller Act. Fed. R.
Civ. P. 56(c). Accordingly, the Court DENIES Defendant's motion

for summary judgment.

iT Is so oRDERED this ig day of June, 2005.

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JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

 

DISTRICT oURT - WESTERDT'ISRI' F TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 2:03-CV-02860 Was distributed by faX, mail, or direct printing on
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US DISTRICT COURT

